EXHIBIT D
                Hopper Processing and Information




                      Step by Step Instructions

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Hopper Master List

The following is a list of all of the hoppers that can be found in VERIS. They are listed in the order in which they display in
VERIS.

    1. DMV OAB Applications
    2. Paper OAB Applications
    3. Paper OAB - Expired
    4. In-Person Absentees
    5. DMV Registrations
    6. DMV OVR Applications
    7. Paper OVR Applications
    8. Felony Convictions
    9. Duplicates
    10. Incomplete Registrations
    11. Transfers
    12. Death
    13. Reinstate Voters
    14. Felony reinstatements
    15. Mentally Incapacitated
    16. DMV Out of State
    17. Scanned Document Images
    18. Declared Non-Citizen
    19. Batch reports
    20. Queued reports
    21. SSIS Packages
    22. NCOA Matches
    23. Notifications




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Processing Scanned Document Images Hopper Records




This procedure applies to the following hopper(s):

        Scanned Document Images

    1. Follow the procedure for Viewing Voter Matches to view the Scanned Document Images Hopper.

        The Scanned Document Matches page is displayed with the data grid populated.




                                                                                                    31 | P a g e
34 | P a g e
    Note: You may remove users from the
    notification by selecting their username in the
    Selected field and clicking the Remove button.

4. Repeat steps 2 and 3 until all desired users are
   included.

5. Enter your message into the Message field.

6. Click the Send button.

    Note: Click the Cancel button to return to the
    Hopper Notifications Summary screen without
    sending a message.




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